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 5
     Attorney for Debtors,
 6   RONALD AND ARLENE SILVER
 7                     IN THE UNITED STATES BANKRUPTCY COURT
 8                               FOR THE DISTRICT OF ARIZONA
 9
     In Re:                                              Chapter 11
10
     Arlene Silver and                                   Case No. 2:17-bk-07624-SHG
11   Ronald J. Silver, husband and wife,

12                                Debtors.

13    EX PARTE MOTION FOR ORDER SHORTENING NOTICE OF HEARING ON
14   APPROVAL OF DISCLOSURE STATEMENT FOR DEBTOR’S FIRST AMENDED
                       PLAN OF REORGANIZATION
15
16            Debtors in Possession, Arlene Silver and Ronald J. Silver, through undersigned

17   counsel, hereby submit this Ex Parte Motion for Order Shortening Notice (this “Motion”) of

18   hearing on approval of the Debtors’ Disclosure Statement for First Amended Plan of

19   Reorganization Dated June 8, 2018 (“Disclosure Statement”) (Docket Entry No. 97) and in

20   support state as follows:

21            1.    Debtors filed their voluntary petition for relief under chapter 11 of the United

22   States Bankruptcy Code on July 4, 2017. Debtors are debtors-in-possession pursuant to

23   1107(a) and 1108 of the Bankruptcy Code.

24            2.    The Court has jurisdiction over this Motion pursuant to 11 U.S.C. §§ 157 and

25   1334. This is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue is

26   proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

27            3.    The basis for the relief requested in this Motion are Rules 9006(c) and

28   2002(b) of the Federal Rules of Bankruptcy Procedure.
 1          4.      On June 8, 2018 the Debtors filed the Disclosure Statement as well as a First
 2   Amended Plan of Reorganization Dated June 8, 2018 (the “First Amended Plan”).
 3          5.      On June 19, 2018 this Court held a hearing on creditor Ocwen’s Motion for
 4   Stay Relief. Ocwen is the only creditor to object to the Disclosure Statement and the
 5   Debtor is not aware of any other creditors who may file an objection to the proposed fully
 6   funded plan.    The parties informed the Court that they are negotiating both Ocwen’s
 7   Objection to the Disclosure Statement as well as a resolution to the Stay Relief Motion and
 8   the Court set a continued hearing on Stay Relief to July 19, 2018 at 2:00p.m.
 9          6.      Bankruptcy Rule 2002(b) provides that all parties in interest shall be provided
10   with 28 days notice of the hearing on and an opportunity to object to the approval of a
11   proposed disclosure statement, however, the 28 days may be reduced pursuant to
12   Bankruptcy Rule 9006(c)(1) for cause and in the Court’s sound discretion.
13          7.      The Debtors request that the Court enter an order shortening the notice of the
14   hearing on the approval of the Disclosure Statement to 21 days, and shortening notice of the
15   deadline to object to the adequacy of the Disclosure Statement to fourteen (14) days. Given
16   that the Disclosure Statement has already been on file for 18 days and the fact that the plan
17   is fully funded, as well as the limited shortening of the notice periods under Bankruptcy
18   Rule 2002(b), the Debtors respectfully submit that no party in interest will be prejudiced by
19   the relief requested.
20          8.      The Debtors respectfully request that the Court set July 12, 2018 as the
21   deadline to object to the adequacy of the Disclosure Statement and set July 19, 2018 at
22   2:00p.m. as the date and time for the hearing on approval of the Disclosure Statement.
23   Based upon the representations of Ocwen’s counsel at the June 19, 2018 stay relief hearing
24   as well as during negotiations, Debtors believe that the sole party who has filed an objection
25   (Ocwen) is without objection to holding the hearing on approval of the Disclosure
26   Statement on the same day as the continued Stay Relief hearing.
27          9.      Assuming an order granting this Motion and setting the objection deadlines
28   and hearing date for the approval of the Disclosure Statement is entered on June 27, 2018,

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 1   the Debtors believe such an order can be served on all parties in interest on or before June
 2   28, 2018. This will provide parties in interest with approximately 14 days notice of the
 3   opportunity to object to approval of the Disclosure Statement (notwithstanding that the
 4   Disclosure Statement has been on file and served since June 8, 2018) and approximately 21
 5   days notice of the hearing on approval of the Disclosure Statement. Under the
 6   circumstances, the Debtors respectfully submit that such periods are reasonable and will not
 7   prejudice any party in interest in this case.
 8          RESPECTFULLY SUBMITTED this 26th day of June, 2018
 9                                               LAW OFFICES OF KYLE A. KINNEY, PLLC
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11                                               By:/s/ Kyle A. Kinney
                                                        Kyle A. Kinney, Esq.
12                                                      1717 N. 77th Street, Suite 6
                                                        Scottsdale, AZ 85257
13                                                      Attorney for Debtors
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     COPY of the foregoing mailed or served
 1
     via electronic notificationthis 9thday
 2   of May, 2018 to:
 3   RENEE SANDLER SHAMBLIN
 4   OFFICE OF THE U.S. TRUSTEE
     230 North First Avenue, Suite 204
 5   Phoenix, AZ 85003-1706
     Email: renee.s.shamblin@usdoj.gov
 6
 7   and COPIES served via email to all
     other persons requesting notice
 8                                                         Lori L. Winkelman
     Margaret A. Gillespie                                 Amelia B. Valenzuela
 9   Collins, May, Potenza, Baran& Gillespie, P.C.         Quarles & Brady LLP
     201 N. Central Avenue, 22nd Floor                     Renaissance One
10   Phoenix, AZ 85004-0608                                Two North Central Avenue
     Attorneys for Zions First National Bank.              Phoenix, Arizona 85004-2391
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     Kim Lepore                                            amelia.valenzuela@quarles.com
12   klepore@wrightlegal.net                               Attorneys for Capital One, NA as servicer
     Jamin S. Neil                                         forGreenpoint Mortgage Funding, Inc.
13   jneil@wrightlegal.net
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14   16427 N. Scottsdale Road, Suite 300
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15   Attorneys for Nissan                                  3550 North Central Avenue, Suite 625
                                                           Phoenix, AZ 85012
16   ALDRIDGE PITE, LLP                                    E-mail: Jtirello@zbslaw.com
     ecfazb@aldridgepite.com                               Attorneys for U.S. Bank National Association,
17   4375 Jutland Drive, Suite 200                         as Trustee for Lehman Brothers Small Balance
     P.O. Box 17933                                        Commercial Mortgage Pass-Through
18   San Diego, CA 92177-0933
     Attorneys for Ocwen Loan Servicing                    Certificates,
19                                                         Series 2007-3
20   Nationstar Mortgage LLC
     Robertson, Anschutz & Schneid, P.L.                   See attached mailing matrix for additional
21   6409 Congress Avenue Suite 100                        parties
     Boca Raton, FL 33487-2853||
22
     By:/s/ Paula D. Hillock
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